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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

Vs Docket No. 19-CR-227
Joseph Bonogiovanni and

Michael Masecchia

Defendant

DEFENDANT’S CHARACTER REFERENCE LETTER

Dated: Buffalo, New York
May 2, 2022

S/Patrick J. Brown

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2 Niagara Square
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mM. Masecchia
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INVISION HEALTH
William H. Stephan, MD
533 Niagara Street
Suite 500
Tonawanda, NY 14150-6848
Ph (716) 875-7393 Fax (716) 259-9088

May 1, 2022

Dear Judge Sinatra:
ena successful practicing family physician for the past 36 years in the Town of Tonawanda. |

|, William Stephan, MD, have be
th homeapathic therapies to provide the best possible care for my patients.

combine traditional medicine wi

ng my patient, Michael Masecchia, whom | have known as both a friend and a patient in my practice

d Mike in my office as recently as 4/26/2022. He had always been a relatively healthy individual until

d leukemia and b cell lymphoma which is very concerning. This is a cancer of the blood and bone
dely as to the type of CLL and other factors. Mike was initially

red, The prognosis varies wi
tly followed very closely by Roswell Park Cancer Institute every three months for possible

1am writing this letter concerni
for the past 10 years. | examine
his diagnoses of chronic lymphoi
marrow that can be treated but rarely cu
treated with chemotherapy and is curren
risk of recurrence.

Thank you for taking into consideration Mike’s significant health issues prior to your sentencing decision. Please do not hesitate to

contact me if you wish to discuss my patient or need further information.

Sincerely,

William H. Fp

WHS/|j

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